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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ASTRAZENECA PHARMACEUTICALS
LP,

Plaintiff,

Vv. Civil Action No. 23-931-CFC

XAVIER BECERRA, in his official
capacity as SECRETARY OF HEALTH
AND HUMAN SERVICES,

and

CHIQUITA BROOKS-LASURE,
in her official capacity as
ADMINISTRATOR OF THE
CENTERS FOR MEDICARE &
MEDICAID SERVICES,

Defendants.

STIPULATED AND REBOSENLORDER

REGARDING CROSS-MOTIONS FOR SUMMARY JUDGMENT

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Pursuant to Federal Rule of Civil Procedure 7(b) and Local Rule 7, Plaintiff
AstraZeneca Pharmaceuticals LP (AstraZeneca) and Defendants Xavier Becerra et
al. jointly move to establish a briefing schedule for the above-captioned matter and
for related relief as outlined below.

1. AstraZeneca brought this lawsuit challenging certain aspects of the
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drug pricing negotiation provisions of the Inflation Reduction Act of 2022 (IRA), as
well as recent guidance issued by the Centers for Medicare & Medicaid Services
(CMS).

2. AstraZeneca alleges claims under the Administrative Procedure Act
(APA) as well as under the constitution. The parties agree, however, that neither set
of claims require discovery, witness testimony, or trial, and instead should be
resolved on dispositive motions. The parties further agree that Defendants will not
submit an administrative record in this matter. To the extent the parties intend to
reference any administrative documents, they will submit them by attaching or
linking to them in their briefs. The parties reserve the right to object to any submitted
documents

3. One of AstraZeneca’s products, Farxiga, was selected by CMS for
negotiation under the drug pricing negotiation provisions of the IRA, which lay out
a process for potentially establishing a “maximum fair price” (MFP) for Farxiga.
The IRA requires manufacturers of selected drugs to respond to CMS’s initial offer
of an MFP on or before March 2, 2024, at which point AstraZeneca may need to
decide whether to accede to the price limitations that it challenges in this lawsuit.

4. The parties have conferred and agreed to a briefing schedule set forth
in paragraph 6, below. To avoid the need for preliminary injunction proceedings,

and to ensure that the parties are heard on their respective positions before the
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negotiations conclude, Plaintiff respectfully requests a decision from this Court on
the dispositive motions on or before March 1, 2024. Counsel for AstraZeneca had
initially proposed a faster briefing schedule than what is set forth below, but is
amenable to the schedule set forth below if the Court believes it allows the Court
ample time to issue a decision on or before March 1, 2024.

5. In the event that the briefing schedule set forth below is not sufficient
to permit the Court adequate time to issue a decision by the Target Decision Date of
March 1, 2024, Plaintiff respectfully requests that the Court convene a status
conference or otherwise provide guidance to the parties regarding a briefing
schedule that would be sufficient to enable the Court to issue a decision on or before
March 1, 2024.

6. Given the significant issues raised in this lawsuit, the fact that the entire
case will be presented on dispositive motions, and the complicated nature of the
regulatory issues involved, the Parties respectfully request the following briefing

schedule along with an extension of the default word limits, as set forth below:

AstraZeneca’s motion for summary | September 26, 2023
judgment and supporting brief (7,500
words)

Defendants’ combined opposition to | November 1, 2023
AstraZeneca’s motion for summary
judgment and brief in support of
Defendants’ dispositive motion
(combined: 15,000 words)

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AstraZeneca’s combined opposition to | December 1, 2023
Defendants’ dispositive motion and
reply in support of AstraZeneca’s
motion for summary judgment
(combined: 15,000 words) x,

Defendants’ reply brief (7,500 words) | January 12% 2024

Oral Argument January 3/ 2024at 7: OO am.
Target Decision Date March 1, 2024
7: The parties have agreed that the foregoing schedule is without waiver

of either party’s right to seek modification of the case schedule if circumstances
warrant.

Respectfully submitted,

MCCARTER & ENGLISH, LLP

/s/ Daniel M. Silver

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Dated: September 18, 2023

SO ORDERED this /(F day of September, 2023.

lh. FLA

Chief United States Qitrict Court J udge

